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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                           NORTHERN DIVISION



THE CITY OF ANNAPOLIS, MARYLAND,         )
                                         )
                Plaintiff,               )   Case No. 1:19-cv-01162-GLR
                                         )
     v.                                  )   Action Filed: February 26, 2019
                                         )   Action Served: March 20, 2019
PURDUE PHARMA L.P.; PURDUE PHARMA        )
INC.; THE PURDUE FREDERICK COMPANY;      )
TEVA PHARMACEUTICALS USA, INC.;          )
                                         )
CEPHALON, INC.; JOHNSON & JOHNSON;
                                         )
JANSSEN PHARMACEUTICALS, INC.;           )
ORTHO-MCNEIL-JANSSEN                     )
PHARMACEUTICALS, INC. n/k/a JANSSEN      )
PHARMACEUTICALS, INC.; JANSSEN           )
PHARMACEUTICA, INC. n/k/a JANSSEN        )
PHARMACEUTICALS, INC.; ENDO HEALTH       )
SOLUTIONS INC.; ENDO                     )
PHARMACEUTICALS INC.; INSYS              )
TERAPEUTICS, INC.; CARDINAL HEALTH,      )
INC.; MCKESSON CORPORATION;              )
                                         )
AMERISOURCEBERGEN DRUG
                                         )
CORPORATION; WILLIAM THAM, M.D.;         )
PHYSICAL MEDICINE AND PAIN               )
MANAGEMENT ASSOCIATES, P.C.; KOFI        )
SHAW-TAYLOR; HAPPINESS AGUZIE;           )
TORMARCO HARRIS; MINNIE NDEM;            )
STARLIFE WELLNESS CENTER LLC;            )
LAWRENCE VIDAVER, M.D.; and              )
MARYLAND HEALING WATERS, LLC f/k/a       )
MARYLAND HEALING WATERS LLC,             )
                                         )
                Defendants.              )
                                         )



         DECLARATION OF JOHN A. FREEDMAN IN SUPPORT OF
     NOTICE OF REMOVAL PURSUANT TO CIVIL LOCAL RULE 103.5(A)
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       I, John A. Freedman, do hereby declare under penalty of perjury as follows:

       1.       I make this declaration pursuant to Civil Local Rule 103.5(a) in support

Defendants Endo Health Solutions Inc. and Endo Pharmaceuticals Inc.’s Notice of Removal.

       2.       Attached as Exhibit 1 is a true and correct copy of all documents filed in the state

court action (except the Complaint, which was filed with the Notice of Removal), captioned The

City of Annapolis, Maryland v. Purdue Pharma L.P. et al., bearing case number C-02-CV-19-

000594 in the Circuit Court of Maryland for Anne Arundel County, prior to removal.




DATED: May 3, 2019                             /s/ John A. Freedman
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                                    CERTIFICATE OF SERVICE

       The undersigned hereby certifies on this 3rd day of May, 2019 I directed that the

foregoing to be e-filed with this Court’s electronic filing system and thereby served via the

Court’s ECF filing system on all parties requiring electronic notification.

       The undersigned further certifies on this 3rd day of May, 2019 I directed that the

foregoing be served by first-class mail, postage prepaid to:

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Attorneys for Plaintiff THE CITY OF
ANNAPOLIS, MARYLAND




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